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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    FRANCHISE GROUP, INC., et al., 1                         Case No. 24-12480 (JTD)

                                Debtors.                     (Joint Administration Requested)


          DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
    (I) AUTHORIZING THE DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF
     CERTAIN CRITICAL VENDORS, FOREIGN VENDORS, SHIPPERS & LOGISTICS
    PROVIDERS, AND 503(b)(9) CLAIMANTS; AND (II) GRANTING RELATED RELIEF

          The debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”) hereby file this motion (the “Motion”) for entry of interim and final orders,

substantially in the forms attached hereto as Exhibit A (the “Interim Order”) and Exhibit B

(the “Final Order,” and, together with the Interim Order, the “Proposed Orders”), (i) authorizing,

but not directing, the Debtors to pay certain prepetition Critical Vendors Claims, Foreign Vendors




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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
      Delaware, Ohio 43015.
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Claims, Shippers & Logistics Providers Claims, and 503(b)(9) Claims (each as defined below) in

an amount not to exceed $77,650,000 pursuant to the Interim Order (the “Interim Order Cap”) and,

in the aggregate, inclusive of amounts paid pursuant to the Interim Order, an amount not to exceed

$99,700,000 pursuant to the Final Order (the “Final Order Cap”), and (ii) granting related relief.

In support of the Motion, the Debtors rely upon and incorporate by reference the Declaration of

David Orlofsky in Support of Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”), 2 filed contemporaneously herewith. In further support of the Motion, the Debtors

respectfully state as follows:

                                     JURISDICTION AND VENUE

        1.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b) and, pursuant

to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors consent to the

entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent the consent of the parties, cannot enter final orders or judgments

in connection herewith consistent with Article III of the United States Constitution.

        2.       Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory and legal predicates for the relief sought herein are sections 105(a),

363(b), 503(b), 1107(a), and 1108 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532




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    Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the First Day
    Declaration.



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(the “Bankruptcy Code”), Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Local Rule 9013-1(m).

                                          BACKGROUND

          4.      On November 3, 2024 (the “Petition Date”), each of the Debtors filed voluntary

petitions under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) in the Court. The

Debtors are authorized to operate their business and manage their properties as debtors and debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          5.      No official committee has been appointed in these Chapter 11 Cases, and no request

has been made for the appointment of a trustee or an examiner.

          6.      Additional information regarding the Debtors’ business, capital structure, and the

circumstances leading to the filing of these Chapter 11 Cases is set forth in the First Day

Declaration.

                                       RELIEF REQUESTED

          7.      By this Motion, the Debtors seek entry of the Proposed Orders: (i) authorizing, but

not directing, the Debtors to pay certain prepetition Critical Vendor Claims, Foreign Vendors

Claims, Shippers & Logistics Providers Claims, and 503(b)(9) Claims, collectively subject to the

Interim Order Cap and the Final Order Cap, and (ii) granting related relief. As described in further

detail below, the obligations that the Debtors seek authority to pay are summarized in the following

table:

           Critical Goods and Services Providers         Requested Interim     Requested Final
                                                             Amount               Amount
         Shippers & Logistics Providers, Foreign                $23,650,000        $41,500,000
         Vendors, and Critical Vendors

         503(b)(9) Providers                                     $54,000,000       $58,200,000

                                            Total:               $77,650,000       $99,700,000




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                                PRELIMINARY STATEMENT

       8.        The Debtors are a privately held operator and acquirer of franchised and

franchisable businesses. The Debtors’ business segments include a diverse collection of highly

recognized, market-leading, and emerging retail brands, including: (i) The Vitamin Shoppe

(“Vitamin Shoppe”), an omnichannel specialty retailer and wellness lifestyle company offering

large varieties of vitamins, minerals, herbs, homeopathic remedies, and supplements, among

others; (ii) Buddy’s Home Furnishings (“Buddy’s”), retail furniture chains that offer in-store and

online sales of furniture, mattresses, new and out-of-box home appliances, and home accessories

at discount prices; and (iii) Pet Supplies Plus (“PSP”), an omnichannel pet supplies and services

retail chains offering premium brands and proprietary label and specialty pet products, grooming,

and pet washing services. The Debtors operate both franchise and corporate-owned programs with

respect to each of their business segments. Across all brands, the Debtors have over 2,200 total

retail store locations, approximately 11,900 total employees, and operations spanning across the

United States.     Across all businesses, the Debtors focus on identifying key products and

merchandise required to drive operational and strategic improvements across their franchise

platforms and, in connection therewith, the leading vendors, product developers, and suppliers

throughout the industry. The Debtors operate across intensely competitive industries, where they

compete with various established companies.

       9.        The Debtors’ success throughout the United States is partially fueled by their

partnerships with certain critical vendors and goods and services providers that ensure that the

Debtors are able to deliver and sell the highest quality products for use by their franchisees and for

their customers. As further described below, the Debtors’ businesses depend on the uninterrupted

flow of inventory and other goods through their distribution networks and to their franchisees and




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stores, including the purchase, importation, storage, and shipment of the Debtors’ inventory and

merchandise. The Debtors rely on a number of third-party warehousemen and distributors, various

freight vendors, other shipping services providers, and merchandise suppliers for the receipt,

distribution, and delivery of the products and merchandise that the Debtors sell in their stores and

on their e-commerce sales platforms. The Debtors’ critical goods and services providers support

nearly every aspect of the Debtors’ business, including by: storing the Debtors’ products, shipping

the Debtors’ products to their franchisees and customers, and supplying their products and

merchandise.

       10.     Moreover, with respect to each of the Debtors’ businesses, the Debtors obtain core

products and merchandise from a limited number of highly specialized vendors that are

irreplaceable, due to, among other things, demand created by branding and marketing. If the

Debtors fail to stock the products that their customers have grown accustomed to seeing in their

stores and across their e-commerce websites, the effects would extend far beyond simply not

offering those particular products. If consumers become aware that the Debtors do not stock a

particular item, they will simply not come to the Debtors’ stores or visit their websites, where they

may have purchased additional items beyond the one product that they initially came to purchase.

Consequently, although the Debtors have evaluated several supplier options for the sourcing of

their merchandise and products over the past several years, their unique merchandise and products

cannot be sourced across multiple, redundant suppliers without difficulty and heightened costs. If

the Debtors’ critical goods and services providers refuse to continue doing business with the

Debtors on account of outstanding prepetition amounts, replacing them would cause significant

delays in each Debtor’s ability to deliver the necessary products to its stores, franchisees, and

customers during the rapidly approaching holiday season, which would not only jeopardize, but




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also cause irreparable, and potentially irreversible, damage to the Debtors’ business and their

estates.

           11.   Further, even if the Debtors were able to switch shippers and logistics providers

and other critical and foreign vendors to alternative suppliers on such short notice (which, with

respect to the Critical Vendors, Foreign Vendors, and Shippers & Logistics Providers discussed

herein, they cannot), there would be significant disruptions in the Debtors’ operations to the

detriment of the Debtors’ business and, ultimately, their stakeholders. Given that the Debtors’

businesses revolve around the timely production and distribution of merchandise and products,

even a slight delay in the delivery of such products to market could negatively affect the Debtors’

market share, causing irreparable harm to their business.

           12.   Accordingly, prior to the Petition Date, the Debtors worked with their advisors to

evaluate their vast vendor base of more than 6,000 vendors and suppliers to determine which

business relationships and goods and services providers within the categories described below are

critical to the Debtors’ ongoing successful business operations during these Chapter 11 Cases—

the loss of which would immediately and irreparably harm their business. The Debtors submit that

the relief requested through this Motion will allow the Debtors to preserve and maximize value by

paying the prepetition claims of certain counterparties that are critical to the Debtors’ business

enterprise.

                         THE SHIPPERS & LOGISTICS PROVIDERS

           13.   The Debtors conduct their business through a complex logistics network that is

dependent on services provided by certain common carriers, warehousemen, freight forwarders,

and third-party logistics providers (collectively, the “Shippers & Logistics Providers”). The

Shippers & Logistics Providers are responsible for transporting the Debtors’ products from foreign




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countries to the United States, and once in the United States, transporting the manufactured

products to either warehouses, the Debtors’ distribution centers, the Debtors’ stores, or directly to

customers. As a result, the Shippers & Logistics Providers regularly possess certain of the

Debtors’ products and merchandise in the ordinary course of the Debtors’ operations. The

Shippers & Logistics Providers are paid by the Debtors for services that have been concluded on

behalf of the Debtors. If any fees and expenses owed to the Shippers & Logistics Providers are

not satisfied, these parties may refuse to deliver or release the Debtors’ products, thereby

preventing the Debtors from delivering their merchandise and products to their stores, franchisees,

and customers.

       14.       Moreover, many of the parties in the Debtors’ logistics chain likely have incidental

possessory liens on the Debtors’ goods and products. Under the laws of most states, carriers and

warehousemen will, in certain circumstances, have a lien on the goods in their possession that

secures the charges or expenses incurred in connection with the transportation or storage of goods.

Furthermore, in certain circumstances, these parties may be entitled to sell the goods in their

possession to third parties to enforce the possessory liens and secure payment of the charges or

expenses incurred in connection with any lien charges, including shipping and storage charges.

Even a minor interruption to the Debtors’ supply chain could undermine the Debtors’ ability to

fulfill their stores’, franchisees’, and customers’ needs and adversely impact relationships with

such parties.

       15.       Such Shippers & Logistics Providers’ possession (and retention) of the Debtors’

products would severely disrupt the Debtors’ operations and affect the Debtors’ ability to fulfill

orders and, in turn, efficiently administer these Chapter 11 Cases. Likewise, the value of the

Debtors’ product in the Shippers & Logistics Providers’ possession is likely to exceed the amounts




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owed to such Shippers & Logistics Providers. As a result, the cost of such disruption to the

Debtors’ estates would likely be greater than any applicable lien charges or payments owed to the

Shippers & Logistics Providers. Accordingly, the Debtors seek authority to satisfy certain

prepetition Shippers & Logistics Providers Claims subject to the Interim Order Cap and the Final

Order Cap.

                                   THE FOREIGN VENDORS

       16.      The continual operation of the Debtors’ businesses entails transacting with various

foreign vendors, including foreign manufacturers and suppliers (collectively, the “Foreign

Vendors”). Given the global nature of their distribution network, in the ordinary course of their

businesses, the Debtors regularly transact with Foreign Vendors that are critical to the Debtors’

supply chain.

       17.      Based on the reactions of foreign suppliers in other chapter 11 cases, the Debtors

believe that there is a significant and material risk that a Foreign Vendor may stop providing

services to the Debtors on a timely basis and/or completely sever its business relationship with the

Debtors. While the automatic stay is not, by its terms, limited in its geographical scope, as a

practical matter, the ability to enforce its provisions may be limited to creditors that are subject to

the jurisdiction of the United States bankruptcy courts. Certain Foreign Vendors may lack

minimum contacts with the United States and, thus, may not be subject to the jurisdiction of the

Court. Many of the Foreign Vendors have significant, long-standing relationships with the Debtors

and either cannot be replaced given their specialized role in the Debtors’ supply chain or cannot

be replaced without significant delay and cost.

       18.      Based on the substantial experience of the Debtors’ management in the industry

and their knowledge of the Foreign Vendors, the Debtors believe that there is a significant risk that




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the Foreign Vendors may consider themselves beyond the jurisdiction of the Court, disregard the

automatic stay, and engage in conduct that would disrupt the Debtors’ operations. Indeed, among

other things, Foreign Vendors may exercise self-help (if permitted under local law), which could

include reclaiming vital goods and equipment already in the Debtors’ possession and shutting

down the Debtors’ access to essential goods needed to maximize profit.

       19.     Even if Foreign Vendors stop short of foreclosing or attaching liens on the Debtors’

assets, and even if they do not commence litigation or insolvency proceedings, the Foreign

Vendors could cut off trade credit, demand cash-on-delivery or implement other advance payment

terms, or simply refuse to continue conducting business with the Debtors. Because the Foreign

Vendors may not have any (or only a de minimis amount of) assets or operations in the United

States that may subject them to the jurisdiction of the Court, the Debtors have no workable

enforcement mechanism against these parties. The cumulative impact of the Foreign Vendors’

actions could have a devastating effect on the going-concern value of Debtors’ business and ability

to operate in chapter 11. For the foregoing reasons, the Debtors seek authority to satisfy certain

prepetition Foreign Vendors Claims subject to the Interim Order Cap and the Final Order Cap.

                                  THE CRITICAL VENDORS

       20.     In addition to the Shippers & Logistics Providers and the Foreign Vendors, the

Debtors rely on critical vendors to operate their business in the ordinary course, including, but not

limited to, Merchandise and Inventory Suppliers and Other Critical Vendors (each as defined

below and, collectively, the “Critical Vendors”).

     B.        Merchandise and Inventory Suppliers

       21.     To conduct their businesses, the Debtors rely on Merchandise and Inventory

Suppliers to supply the inventory and merchandise that the Debtors and their franchisees sell in

their stores and through their websites. The Merchandise and Inventory Suppliers provide the


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Debtors with goods on terms that create considerable liquidity for the Debtors’ businesses, and

maintaining these trade terms is critical to the Debtors’ continued success. Given the unique nature

of the merchandise sold in the Debtors’ stores, with certain products across the businesses having

strong, entrenched brand identities that render them irreplaceable, the merchandise and inventory

purchased from the Merchandise and Inventory Suppliers cannot be easily replaced or substituted

by alternative vendors. Furthermore, the Debtors’ business is wholly reliant on the sale of their

merchandise and inventory. Failing to stock the Debtors’ most in-demand items received from the

Merchandise and Inventory Suppliers—especially in light of the upcoming holiday season—would

significantly harm the Debtors’ businesses.

       22.     Likewise, several of the Debtors’ materials have a limited shelf life, which prevents

the Debtors from stockpiling key materials, without risking significant loss. As a result, the

Debtors often do not maintain large inventories of such materials and, as with many other

comparably sized retailers and manufacturers, often do not enter into long term supply

arrangements. Instead, the Debtors order such products in smaller batches through purchase

orders, which makes them extremely vulnerable to Merchandise and Inventory Suppliers ceasing

to do business with the Debtors on account of unpaid prepetition amounts. Thus, the trade terms

on which the Merchandise and Inventory Suppliers supply goods are critical to the Debtors’

success and ability to build their holiday inventory and, without their continued relationship with

the Merchandise and Inventory Suppliers, the Debtors cannot operate profitable businesses.

     C.        Other Critical Vendors

       23.     The Debtors also rely on other critical vendors (the “Other Critical Vendors”) to

operate their business in the ordinary course, including, but not limited to, vendors that provide

open-box merchandise and services critical to the maintenance of the Debtors’ stores and

distribution centers and vendors that provide marketing-related services, such as advertising on


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key customer-facing platforms, to identify and generate new customers. Essential goods and

services provided by such vendors include online operations, website development and

maintenance, and management, general supplies and packaging materials, employee onboarding

and management programs, regulated direct mail and digital marketing campaigns, customer

relationship management capabilities, brand creative services, and the Debtors’ omnichannel

initiatives, among other critical services that support the Debtors’ operational needs across all

platforms. In many instances, the Other Critical Vendors are the only vendors able to produce or

deliver the volume or quality of certain services or products sufficient to meet the Debtors’

operational needs. If the Other Critical Vendors ceased doing business with the Debtors on account

of unpaid prepetition amounts, the process of finding suitable replacement vendors would be time

consuming and could significantly delay the delivery of the Debtors’ product to their stores,

franchisees, and customers. Without these Other Critical Vendors, the Debtors cannot sustain the

highest quality retail and website operations that they have worked for years to achieve, would be

unable to continue serving their franchisees and customers, and would likely lose significant

revenue. Given the proximity to the upcoming holiday season, such consequences would be

especially detrimental to the Debtors’ businesses. Accordingly, the Debtors seek authority to

satisfy certain Other Critical Vendor Claims subject to the Interim Order Cap and the Final Order

Cap.

                               CUSTOMARY TRADE TERMS

       24.     In return for paying Critical Vendors and Foreign Vendors, the Debtors seek

authorization to condition payment of the Critical Vendor Claims and Foreign Vendor Claims

(each, a “Trade Claim” and, collectively, the “Trade Claims”), either in full or in part, on each

vendor’s agreement to continue to provide favorable trade terms in line with historical practices




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and other terms covered by existing agreements and other programs for the postpetition delivery

of goods and services as well as continue supplying the Debtors with essential goods and services

for the duration of these Chapter 11 Cases (collectively, the “Customary Trade Terms”).

        25.     To ensure that the Critical Vendors and Foreign Vendors continue to deal with the

Debtors on the Customary Trade Terms, the Debtors propose that a letter agreement (a “Trade

Agreement”), 3 substantially in the form attached hereto as Exhibit C, be sent to the Critical

Vendors and Foreign Vendors for execution, together with a copy of the Interim Order (or the

Final Order, if such order has been entered) granting this Motion. For the avoidance of doubt, the

Proposed Orders do not approve the terms of the Trade Agreement.

        26.     The Debtors propose that each Trade Agreement include, without limitation:

                         (a)     the amount of the relevant Critical Vendor’s or Foreign Vendor’s
                                 estimated Trade Claim, accounting for any setoffs, other credits, and
                                 discounts thereto; provided, however, such amount shall be used
                                 only for the purposes of determining such Critical Vendor’s or
                                 Foreign Vendor’s claim under the Interim Order or Final Order and
                                 shall not be deemed a claim allowed by the Court, and the rights of
                                 all interested persons to object to such claim shall be fully preserved
                                 until further order of this Court;

                         (b)     the Customary Trade Terms applicable to such Critical Vendor or
                                 Foreign Vendor, or such other terms as the Critical Vendor or
                                 Foreign Vendor and the Debtors may agree on that are at least as
                                 favorable as those that were in effect twelve (12) months prior to the
                                 Petition Date, and the Critical Vendor’s or Foreign Vendor’s
                                 agreement to provide goods and/or services to the Debtors pursuant
                                 to such terms during the pendency of the Debtors’ bankruptcy cases,
                                 unless the Debtors fail to make timely payments under the agreed-
                                 upon terms; and

                         (c)     the Critical Vendor’s or Foreign Vendor’s agreement not to file or
                                 otherwise assert against any or all of the Debtors, their estates, or
                                 any other person or entity or any of their respective assets or
                                 property (real or personal) any lien (a “Lien”) or claim for

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    The Debtors’ entry into a Trade Agreement shall not change the nature, validity, amount, or priority of the
    underlying Trade Claims and shall not constitute an assumption or rejection of any executory contract or
    unexpired lease between a Debtor and Critical Vendor or Foreign Vendor (if any).



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                                   reclamation (a “Reclamation Claim”), regardless of the statute or
                                   other legal authority upon which such Lien or Reclamation Claim
                                   may be asserted, related in any way to any remaining prepetition
                                   amounts allegedly owed to the Critical Vendor or Foreign Vendor
                                   by the Debtors arising from agreements or other arrangements
                                   entered into prior to the Petition Date and, to the extent the Critical
                                   Vendor or Foreign Vendor has already obtained or otherwise asserted
                                   such a Lien or Reclamation Claim, the Critical Vendor or Foreign
                                   Vendor shall take whatever actions are necessary to remove such Lien
                                   or withdraw such Reclamation Claim.

        27.      The Debtors seek only the authority to enter into Trade Agreements when the

Debtors determine that payment of such Trade Claims in the ordinary course is necessary and that

such agreements are advisable. The Debtors also hereby seek authority to make payments in the

ordinary course on account of the Trade Claims, even in the absence of a Trade Agreement, if the

Debtors determine, in their business judgment, that failure to pay such Trade Claims in the ordinary

course is likely to result in irreparable harm to the Debtors’ business operations and that they are

not reasonably likely to be able to achieve a Trade Agreement with the relevant Critical Vendor or

Foreign Vendor. 4

        28.      In the event that a Critical Vendor or Foreign Vendor refuses to supply goods and

services to the Debtors on Customary Trade Terms (or such other terms as are agreed to by the

parties) following receipt of payment on its Trade Claim, or fails to comply with any Trade

Agreement entered into between such Critical Vendor or Foreign Vendor and the Debtors, then

the Debtors hereby seek authority, in their discretion and without further order of the Court, to:

(i) declare that any Trade Agreement between the Debtors and such Critical Vendor or Foreign

Vendor, as applicable, is terminated; (ii) declare that payments made to such Critical Vendor or

Foreign Vendor, as applicable, on account of its Trade Claim be deemed to have been in payment



4
    Nothing in this Motion should be construed as a waiver by any of the Debtors of their rights to contest any
    claim of a Critical Vendor or a Foreign Vendor under applicable law.



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of then-outstanding (or subsequently accruing) postpetition claims of such Critical Vendor or

Foreign Vendor without further order of this Court or action by any person or entity; and

(iii) recover any payment made to such Critical Vendor or Foreign Vendor, as applicable, on

account of its Trade Claim to the extent that such payments exceeded the postpetition claims of

such Critical Vendor or Foreign Vendor, as applicable, without giving effect to any rights of setoff,

claims, provision for payment of reclamation or trust fund claims, or other defense.

        29.     In sum, if a Trade Agreement is terminated or a Critical Vendor or Foreign Vendor

refuses to supply goods or services to the Debtors on Customary Trade Terms (or such other terms as

have been agreed to by the parties) following receipt of payment on its Trade Claim, the Debtors seek

authority to return the parties to the positions they held immediately prior to the entry of the Interim

Order approving this Motion with respect to all prepetition claims of such Critical Vendor or Foreign

Vendor. In addition, the Debtors reserve the right to seek damages or other appropriate remedies against

any breaching Critical Vendor or Foreign Vendor.

        30.     The Debtors further propose that any Trade Agreement terminated as a result of a

Critical Vendor’s or Foreign Vendor’s refusal to comply with the terms thereof may be reinstated

in the Debtors’ discretion if:

                (a)     the underlying default under the Trade Agreement is fully cured by the
                        Critical Vendor or Foreign Vendor not later than five (5) business days
                        following the Debtors’ notification to the Critical Vendor or Foreign
                        Vendor of such a default; or

                (b)     the Debtors, in their discretion, reach a favorable alternative agreement with
                        the Critical Vendor or Foreign Vendor.

        31.     Some of the Critical Vendors and Foreign Vendors also may have obtained Liens

on the Debtors’ (or other parties’) assets, based upon Trade Claims held by such vendors. As a

further condition to receiving payment on a Trade Claim, a Critical Vendor or Foreign Vendor must

agree to take whatever action is necessary to remove any such Lien.


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                              THE CRITICAL VENDOR PROCESS

       32.      With the assistance of their advisors, the Debtors’ senior management team has

spent considerable time reviewing and analyzing the Debtors’ books and records, consulting with

employees responsible for operations and purchasing, and analyzing applicable laws, regulations,

and historical practice to identify those vendors that are actually essential to the continued and

uninterrupted operation of the Debtors’ business—the loss of which would materially impair the

going-concern viability of the Debtors’ business, and, ultimately, their ability to continue operating

in the ordinary course of business, to the detriment of the Debtors, their vendors, and all of their

stakeholders. Specifically, as part of this process, the Debtors considered a variety of factors in

examining each of their vendor relationships, including:

       •     whether a vendor is a sole- or limited-source or high-volume supplier for goods or
             services critical to the Debtors’ business operations;

       •     whether alternative vendors are available that can provide requisite volumes of similar
             goods or services on equal (or better) terms and, if so, whether the Debtors would be
             able to continue operating while transitioning business thereto;

       •     the degree to which replacement costs (including pricing, transition expenses,
             professional fees, and lost sales or future revenue) exceed the amount of a vendor’s
             prepetition claim;

       •     whether an agreement exists by which the Debtors could compel a vendor to continue
             performing on prepetition terms;

       •     whether certain specifications or contract requirements prevent, directly or indirectly,
             the Debtors from obtaining goods or services from alternative sources;

       •     whether failure to pay all or part of a particular vendor’s claim could cause the vendor
             to hold goods owned by the Debtors, to refuse to ship inventory or to provide critical
             services on a postpetition basis;

       •     whether the Debtors’ inability to pay all or part of the vendor’s prepetition claim could
             trigger financial distress for the applicable vendor; and

       •     whether failure to pay a particular vendor could result in contraction of trade terms as
             a matter of applicable non-bankruptcy law or regulation.



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       31.     In addition to these factors, the Debtors and their advisors examined the status of

each vendor relationship, the vendor’s familiarity with the chapter 11 process, and the extent to

which each vendor’s prepetition claims could be otherwise satisfied as part of the chapter 11

process.

       32.     Based on the foregoing considerations, the Debtors identified the Critical Vendors

whose cessation of services or provision of goods could cripple, in short order, the Debtors’

business and, therefore, result in irreparable harm. The Debtors believe that the Critical Vendors

will refuse to supply goods or services to the Debtors postpetition, unless some or all of their

prepetition claims are paid, and that immediate replacement of the Critical Vendors would be

impracticable or, in some cases, impossible. Without authority to pay the Critical Vendors, the

Debtors could be forced to suspend certain operations immediately.

                                 THE 503(b)(9) CLAIMANTS

       33.     The Debtors may have received certain goods or materials from various vendors

within the twenty (20) days before the Petition Date (the “503(b)(9) Claimants”). Under section

503(b)(9) of the Bankruptcy Code, the value of such goods or materials would be accorded

administrative priority (the “503(b)(9) Claims”). A significant number of the 503(b)(9) Claimants

are also Critical Vendors. The Debtors’ relationships with these vendors are not governed by long-

term contracts. Rather, the Debtors obtain goods from such claimants on an order-by-order basis.

Additionally, the Debtors have tight timelines with their vendors, with some invoices being due

and payable as early as 15 days within receipt. As a result, a 503(b)(9) Claimant may refuse to

supply new orders if the Debtors do not pay the 503(b)(9) Claims. Such refusal would negatively

affect the Debtors’ estates because the Debtors’ business is dependent on the steady flow of goods

and products through their logistics network. Further, certain of the Debtors place bulk inventory




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orders with their vendors in November and December to ensure the proper variety and quantity of

their merchandise is available for sale in January following the holiday season. The substantial

amount of interim and final relief requested in this Motion is, in part, the result of such orders.

       34.     Accordingly, the Debtors request the authority, but not the direction, to pay

undisputed 503(b)(9) Claims as and when they come due subject to the Interim Order Cap and the

Final Order Cap. Importantly, the Debtors do not seek to accelerate or modify existing payment

terms with respect to the 503(b)(9) Claims. Rather, the Debtors will pay the 503(b)(9) Claims as

they come due in the ordinary course of business. As of the Petition Date, the Debtors estimate

that the 503(b)(9) Claims total approximately $58,200,000 in the aggregate, approximately

$54,000,000 of which will come due within twenty-one (21) days following the Petition Date.

                              BASIS FOR RELIEF REQUESTED

A.     The Court Should Grant the Requested Relief Pursuant to Sections 105(a) and 363(b)
       of the Bankruptcy Code.

       35.     Courts have recognized that it is appropriate to authorize the payment of prepetition

obligations where necessary to protect and preserve the estate. See, e.g., In re Just for Feet, Inc.,

242 B.R. 821, 826 (D. Del. 1999) (finding that payment of prepetition claims to certain trade

vendors was “essential to the survival of the debtor during the chapter 11 reorganization”); In re

Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (“The ability of a bankruptcy

court to authorize the payment of pre-petition debt when such payment is needed to facilitate the

rehabilitation of the debtor is not a novel concept.”); Armstrong World Indus., Inc. v. James A.

Phillips, Inc., (In re James A. Phillips, Inc.), 29 B.R. 391, 398 (S.D.N.Y. 1983). In so doing, these

courts acknowledge that several legal theories rooted in sections 105(a) and 363(b) of the

Bankruptcy Code support the payment of prepetition claims as provided herein.




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       36.     Pursuant to section 363(b) of the Bankruptcy Code, payment of prepetition

obligations may be authorized where a sound business purpose exists for doing so. See Ionosphere

Clubs, 98 B.R. at 175 (noting that section 363(b) provides “broad flexibility” to authorize a debtor

to honor prepetition claims where supported by an appropriate business justification). Indeed,

courts have recognized that there are instances when a debtor’s fiduciary duty can “only be fulfilled

by the preplan satisfaction of a prepetition claim.” In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr.

N.D. Tex. 2002).

       37.     In addition, the Court may authorize payment of prepetition claims in appropriate

circumstances based on section 105(a) of the Bankruptcy Code. Section 105(a) codifies the

Court’s inherent equitable powers to “issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of this title.” Under section 105(a), courts may authorize

payments of prepetition obligations when essential to the continued operation of a debtor’s

businesses. See Just for Feet, 242 B.R. at 825. Specifically, the Court may use its power under

section 105(a) of the Bankruptcy Code to authorize payment of prepetition obligations pursuant to

the “necessity of payment” rule (also referred to as the “doctrine of necessity”). Ionosphere Clubs,

98 B.R. at 176.

       38.     Indeed, the United States Court of Appeals for the Third Circuit recognized the

“necessity of payment” doctrine in In re Lehigh & New Eng. Ry. Co., 657 F.2d 570, 581 (3d Cir.

1981). The Third Circuit held that a court could authorize the payment of prepetition claims if

such payment was essential to the continued operation of the debtor. Id. (stating courts may

authorize payment of prepetition claims when there “is the possibility that the creditor will employ

an immediate economic sanction, failing such payment”); see also In re Penn Cent. Transp. Co.,

467 F.2d 100, 102 n.1 (3d Cir. 1972) (holding that the necessity of payment doctrine permits




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“immediate payment of claims of creditors where those creditors will not supply services or

material essential to the conduct of the business until their pre-reorganization claims have been

paid”); Just for Feet, 242 B.R. at 824–25 (noting that, in the Third Circuit, debtors may pay

prepetition claims that are essential to continued operation of business); In re Columbia Gas Sys.,

Inc., 171 B.R. 189, 191–92 (Bankr. D. Del. 1994) (same).

         39.       Allowing the Debtors to pay Shippers & Logistics Providers Claims, Critical

Vendor Claims, Foreign Vendor Claims, and 503(b)(9) Claims pursuant to sections 363(b) and

105(a) of the Bankruptcy Code is especially appropriate where, as here, doing so is consistent with

the “two recognized policies” of chapter 11 of the Bankruptcy Code: preserving going-concern

value and maximizing the value of property available to satisfy creditors. See Bank of Am. Nat’l

Trust & Savs. Ass’n v. 203 N. LaSalle St. P’Ship, 526 U.S. 434, 453 (1999).

B.       Payment of Certain Shippers & Logistics Providers Claims Now Will Not Adversely
         Affect Creditor Recoveries in These Chapter 11 Cases.

         40.       Certain Shippers & Logistics Providers may be entitled under applicable non-

bankruptcy law to assert certain possessory liens on the Debtors’ goods or equipment in their

possession (notwithstanding the automatic stay under section 362 of the Bankruptcy Code) in an

attempt to secure payment of their prepetition claim. Under section 362(b)(3) of the Bankruptcy

Code, the act of perfecting such liens, to the extent consistent with section 546(b) of the

Bankruptcy Code, is expressly excluded from the automatic stay. 5 11 U.S.C. § 362(b)(3). As a

result, the Debtors anticipate that certain Shippers & Logistics Providers may assert or perfect

liens, refuse to turn over goods in their possession, or stop performing their ongoing obligations.




5
     See 11 U.S.C. § 546(b)(1)(A) (providing that a debtor’s lien avoidance powers “are subject to any generally
     applicable law that . . . permits perfection of an interest in property to be effective against an entity that acquires
     rights in such property before the date of perfection.”).



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Even absent a valid lien, to the extent that certain Shippers & Logistics Providers have possession

of the Debtors’ inventory, mere possession or retention would disrupt the Debtors’ operations.

       41.     Additionally, pursuant to section 363(e) of the Bankruptcy Code, the Shippers &

Logistics Providers may be entitled to adequate protection of a valid possessory lien to the extent

that the Debtors use or sell the estate property against which a Shippers & Logistics Providers

Claim is asserted. Given that the value of such property will generally far exceed the value of the

related Shippers & Logistics Providers Claim, creditors will not be harmed—and, in fact, will be

benefited—by the satisfaction of certain amounts owed to the Shippers & Logistics Providers. In

some instances—for example, if a Shipper & Logistics Provider is permitted a lien—where the

amounts owed to a Shipper & Logistics Provider is less than the value of the goods that could be

held as collateral to secure the Shipper & Logistics Provider Claim, such parties may be fully

secured creditors of the Debtors’ estates. In such instances, payment now only provides such

parties with what they might be entitled to receive, only without any interest costs that might

otherwise accrue during these Chapter 11 Cases. See In re Kidde-Fenwal, Inc., Case No. 23-10638

(LSS) (Bankr. D. Del. May 16, 2023) (authorizing payment of certain lien claimants’ prepetition

claims when lien claimants are able to assert possessory liens on the debtors’ goods in the event

of non-payment). Conversely, all creditors will benefit from the seamless transition of the

Debtors’ operations into bankruptcy and the ultimate delivery and sale of inventory to customers.

C.     Ample Authority Exists to Support the Payment of Critical Vendor Claims and
       Foreign Vendor Claims.

       42.     The Debtors depend on the supply of good and merchandise and the provision of

services by the Critical Vendors and Foreign Vendors to sustain their operations. Ensuring that

these Critical Vendors continue to supply and service such goods to the Debtors is, therefore, vital

to the success of these Chapter 11 Cases and the ability of the Debtors to continue operating in the



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ordinary course of business during these Chapter 11 Cases. A slight disruption to the products,

instruments, and services provided by the Critical Vendors could leave the Debtors unable to meet

their obligations and disrupt their important relationship with their customers. The resulting harm

to the Debtors’ estates, in turn, far outweighs the costs associated with paying a portion of the

Debtors’ prepetition obligations to the Critical Vendors. The Debtors believe that the relief sought

in this Motion will not burden the Debtors and, instead, will help to maximize the value of their

estates.

           43.    Further, with respect to the Foreign Vendor Claims, suppliers and vendors located

in foreign countries may be less familiar with the chapter 11 process and react skeptically to

various debtor protections, despite the worldwide nature of the automatic stay. The merchandise

and services provided to the Debtors by the Foreign Vendors is a key source of the Debtors’

revenue and a major factor in the overall reputation of the Debtors and the loyalty of their

customers.       The Debtors believe that the ability to utilize Foreign Vendors is essential to

maintaining a competitive cost structure.

           44.    As set forth above, despite the commencement of these Chapter 11 Cases and the

imposition of the automatic stay, the Foreign Vendors likely would be able to immediately pursue

remedies against the Debtors and seek to collect prepetition amounts owed to them. Non-payment

of Foreign Vendor Claims may also cause Foreign Vendors to take other harmful actions, including

delaying shipments of materials or component parts. As a result, there is a significant risk that the

Foreign Vendors could seek to reclaim vital goods and equipment already in the Debtors’

possession or shut down the Debtors’ access to essential goods needed to maximize profit, which

would significantly disrupt the Debtors’ operations. Timely shipment of inventory is critical to

the Debtors’ business and cash flows, and the Debtors can ill afford any delays or interruptions of




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this nature. If the Foreign Vendors were to fail to ship goods or to refuse to do business with the

Debtors because of a failure to pay their prepetition claims, the Debtors would not be able to

provide their customers with products and merchandise. Thus, in light of the potential irreparable

harm that could result if the Foreign Vendors refused to continue making timely deliveries to the

Debtors—coupled with the lack of any workable enforcement mechanism against such parties—

the Debtors believe that payment of the Foreign Vendor Claims is essential to avoid costly

disruptions to the Debtors’ operations and ability to continue operating as a going concern in these

Chapter 11 Cases.

D.      The Court Should Authorize the Payment of Claims Entitled to Priority Pursuant to
        Section 503(b)(9) of the Bankruptcy Code.

        45.    Section 503(b)(9) of the Bankruptcy Code provides administrative priority for the

“value of any goods received by the debtor within 20 days before the date of commencement of a

case under this title in which goods have been sold to the debtor in the ordinary course of such

debtor’s business.” Consequently, payment of such claims now only provides such parties with

what they will be entitled to ultimately receive in these cases. The timing of such payments lies

squarely within the Court’s discretion. See In re Glob. Home Prods., LLC, No. 06-10340 (KG),

2006 WL 3791955, at *3 (Bankr. D. Del. Dec. 21, 2006) (“The timing of the payment of that

administrative expense claim is left to the discretion of the Court.”); In re Alamo Drafthouse

Cinemas Holdings, LLC, No. 21-10474 (MFW) (Bankr. D. Del. Mar. 29, 2021) (authorizing

debtors to pay claims arising under section 503(b)(9) of the Bankruptcy Code). The payment of

certain 503(b)(9) Claims, in the Debtors’ discretion, may allow the Debtors to maximize the value

of their estates by allowing the Debtors to satisfy such claims, where doing so would have a net

benefit to their estates in terms of increased inventory, favorable credit terms, or other benefits to

the estates.



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       46.     Moreover, the Bankruptcy Code does not prohibit a debtor from paying such claims

sooner rather than later in a chapter 11 case. The Debtors believe they may pay such 503(b)(9)

Claims as administrative claims incurred in the ordinary course of business in accordance with

their business judgment pursuant to section 363(c)(1) of the Bankruptcy Code. See, e.g., In re

Dura Auto. Sys. Inc., No. 06-11202 (KJC) (Bankr. D. Del. Oct. 31, 2006) Hr’g Tr. 49:21–23 (“I

think arguably the debtor could pay its 503(b)(9) claimants without court approval.”). Again, the

timing of such payments lies squarely within the Court’s discretion. See Glob. Home, 2006 WL

3791955, at *3.

                     SATISFACTION OF BANKRUPTCY RULE 6003(b)

       47.     Pursuant to Bankruptcy Rule 6003(b), any motion seeking to use property of the

estate pursuant to section 363 of the Bankruptcy Code or to satisfy prepetition claims within

twenty-one (21) days of the Petition Date requires the Debtors to demonstrate that such relief “is

necessary to avoid immediate and irreparable harm.” The failure of any Vendor to deliver

necessary goods and services to the Debtors would have immediate and detrimental consequences

to the Debtors’ business and would jeopardize the Debtors’ efforts to preserve and maximize the

value of their estates, to the detriment and prejudice of all of the Debtors’ stakeholders. Moreover,

it is the Debtors’ business judgment that continuation of their positive relationship with the Critical

Vendors is critical to avoid any unexpected or inopportune interruption to their operations and

increases the likelihood of successfully prosecuting these Chapter 11 Cases. Thus, if the relief

requested herein is not granted, the Debtors’ failure to satisfy Critical Vendor Claims would cause

the Debtors’ estates immediate and irreparable harm by detracting from, and potentially derailing,

the Debtors’ chapter 11 efforts.




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       48.     For this reason and those set forth above, the Debtors respectfully submit that

Bankruptcy Rule 6003(b) has been satisfied and the relief requested herein is necessary to avoid

immediate and irreparable harm to the Debtors and their estates.

                WAIVER OF BANKRUPTCY RULES 6004(a) AND 6004(h)

       49.     Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale, or lease

of property other than cash collateral is stayed until the expiration of 14 days after entry of the

order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). As set forth throughout this

Motion, any delay in paying Shippers & Logistics Providers Claims, Critical Vendor Claims, and

503(b)(9) Claims would be detrimental to the Debtors, their creditors, and estates, as the Debtors’

ability to manage and run their business operations without any unexpected or inopportune

interruption requires, in part, that they continue to receive the goods and services provided by the

Shippers & Logistics Providers and Critical Vendors. For this reason and those set forth above,

the Debtors submit that ample cause exists to justify a waiver of the fourteen (14) day stay imposed

by Bankruptcy Rule 6004(h), to the extent applicable to the Proposed Orders.

       50.     To implement the foregoing immediately, the Debtors also respectfully request a

waiver of the notice requirements of Bankruptcy Rule 6004(a), to the extent they are applicable to

the Proposed Orders.

                                 RESERVATION OF RIGHTS

       51.     Nothing in the Proposed Orders or this Motion (i) is intended or shall be deemed to

constitute an assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an

admission as to the validity of any claim against the Debtors and their estates; (ii) shall impair,

prejudice, waive, or otherwise affect the rights of the Debtors and their estates with respect to the

validity, priority, or amount of any claim against the Debtors and their estates; (iii) shall impair,




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prejudice, waive, or otherwise affect the rights of the Debtors and their estates with respect to any

and all claims or causes of action; or (iv) shall be construed as a promise to pay a claim.

       52.     Nothing in the Proposed Orders or this Motion shall be construed to (a) create or

perfect, in favor of any person or entity, any interest in cash of any Debtor that did not exist as of

the Petition Date or (b) alter or impair any security interest or perfection thereof, in favor of any

person or entity, that existed as of the Petition Date.

       53.     Nothing in the Proposed Orders or this Motion shall create, nor is intended to create,

any rights in favor of or enhance the status of any claim held by any party.

                                              NOTICE

       54.     Notice of this Motion has been or will be provided to: (i) the U.S. Trustee; (ii) the

United States Attorney’s Office for the District of Delaware; (iii) those creditors holding the

fifty (50) largest unsecured claims against the Debtors’ estates; (iv) counsel to the ABL Lenders;

(v) counsel to the Ad Hoc Group of First Lien Lenders; (vi) counsel to the Second Lien Term Loan

Lenders; (vii) counsel to the HoldCo Lenders; (viii) counsel to the DIP Agent; (ix) counsel to the

DIP Lenders; (x) the Internal Revenue Service; and (xi) the Banks. The Debtors will serve copies

of this Motion and an order entered in respect of this Motion as required by Local Rule 9013-1(m).

In light of the nature of the relief requested herein, the Debtors submit that no other or further

notice is necessary. No previous motion for the relief sought herein has been made to this Court

or any other court.



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                                          CONCLUSION

       WHEREFORE, the Debtors respectfully request entry of the Proposed Orders, granting the

relief requested herein and such other and further relief as is just and proper.

Dated: November 3, 2024
       Wilmington, Delaware

                                          YOUNG CONAWAY STARGATT & TAYLOR,
                                          LLP

                                           /s/ Shella Borovinskaya
                                           Edmon L. Morton (Del. No. 3856)
                                           Matthew B. Lunn (Del. No. 4119)
                                           Allison S. Mielke (Del. No. 5934)
                                           Shella Borovinskaya (Del. No. 6758)
                                           Rodney Square
                                           1000 North King Street
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 571-6600
                                           Facsimile: (302) 571-1253
                                           emorton@ycst.com
                                           mlunn@ycst.com
                                           amielke@ycst.com
                                           sborovinskaya@ycst.com

                                           -and-

                                           WILLKIE FARR & GALLAGHER LLP
                                           Debra M. Sinclair (pro hac vice pending)
                                           Matthew A. Feldman (pro hac vice pending)
                                           Betsy L. Feldman (Del. No. 6410)
                                           Joseph R. Brandt (pro hac vice pending)
                                           787 Seventh Avenue
                                           New York, New York 10019
                                           Telephone: (212) 728-8000
                                           Facsimile: (212) 728-8111
                                           dsinclair@willkie.com
                                           mfeldman@willkie.com
                                           bfeldman@willkie.com
                                           jbrandt@willkie.com

                                           Proposed Co-Counsel to the Debtors
                                           and Debtors in Possession




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                      EXHIBIT A

                     Interim Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    FRANCHISE GROUP, INC., et al., 1                         Case No. 24-12480 (JTD)

                                Debtors.                     (Jointly Administered)

                                                             Ref. Docket No. ___

               INTERIM ORDER (I) AUTHORIZING THE DEBTORS
             TO PAY CERTAIN PREPETITION CLAIMS OF CERTAIN
        CRITICAL VENDORS, FOREIGN VENDORS, SHIPPERS & LOGISTICS
    PROVIDERS AND 503(b)(9) CLAIMANTS; AND (II) GRANTING RELATED RELIEF

         Upon consideration of the motion (the “Motion”) 2 of the debtors and debtors in possession

in the above-captioned cases (collectively, the “Debtors”) for the entry of interim and final orders,

(i) authorizing, but not directing, the Debtors to pay certain prepetition Shippers & Logistics



1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing, LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the First Day
     Declaration.
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Providers Claims, Critical Vendor Claims, Foreign Vendor Claims, and 503(b)(9) Claims in an

amount not to exceed the Interim Order Cap and, in the aggregate, inclusive of amounts paid

pursuant to the Interim Order, an amount not to exceed the Final Order Cap, and (ii) granting

related relief; and this Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334(b), and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware dated as of February 29, 2012; and this Court having

found that venue of these Chapter 11 Cases and the Motion in this District is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having found that notice of the Motion has been

given as set forth in the Motion and that such notice is adequate and no other or further notice need

be given; and this Court having determined that it may enter an order consistent with Article III of

the United States Constitution; and upon consideration of the First Day Declaration; and upon the

record in these Chapter 11 Cases and all of the proceedings had before this Court; and this Court

having found and determined that the relief sought in the Motion is in the best interests of the

Debtors, their estates, and their creditors; and that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on an interim basis as set forth herein.

        2.      A final hearing on the relief sought in the Motion shall be conducted on

_______________, 2024 at ______ (ET) (the “Final Hearing”). Any party-in-interest objecting

to the relief sought at the Final Hearing or entry of the Final Order shall file and serve a written

objection, which objection shall be served upon (i) proposed co-counsel for the Debtors,




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(a) Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York, NY 10019, Attn: Debra M.

Sinclair, Esq. (dsinclair@willkie.com) and Betsy L. Feldman, Esq. (bfeldman@willkie.com), and

(b) Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,

Wilmington, DE 19801, Attn: Edmon L. Morton, Esq. (emorton@ycst.com) and Matthew B.

Lunn, Esq. (mlunn@ycst.com); (ii) counsel to any official committee appointed in these Chapter

11 Cases; (iii) the Office of the United States Trustee for the District of Delaware, J. Caleb Boggs

Federal Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn:

Timothy J. Fox, Esq. (timothy.fox@usdoj.gov); (iv) counsel to the DIP Agent, Seward & Kissel

LLP, One Battery Park Plaza, New York, NY 10004, Attn: Gregg Bateman, Esq.

(bateman@sewkis.com), Sagar Patel, Esq. (patel@sewkis.com), and Michael Danenberg,

Esq.(danenberg@sewkis.com); (v) counsel to the DIP Lenders and Ad Hoc Group of First Lien

Lenders, (a) Paul Hastings LLP, 200 Park Avenue, New York, NY 10166, Attn: Jayme Goldstein,

Esq. (jaymegoldstein@paulhastings.com), Jeremy Evans, Esq. (jeremyevans@paulhastings.com),

and Isaac Sasson, Esq. (isaacsasson@paulhastings.com), and (b) Landis Rath & Cobb LLP, 919

N. Market Street Suite 1800, Wilmington, DE 19317, Attn: Adam G. Landis, Esq.

(landis@lrclaw.com) and Matthew McGuire, Esq. (mcguire@lrclaw.com); (vi) counsel to the

ABL Lenders, Latham & Watkins LLP, 1271 Avenue of the Americas, New York, NY 10020,

Attn:    Jennifer    Ezring,    Esq.    (Jennifer.Ezring@lw.com),       James     Ktsanes,     Esq.

(James.Ktsanes@lw.com) and Andrew Sorkin, Esq. (andrew.sorkin@lw.com); (vii) counsel to the

Second Lien Term Loan Lenders, White & Case LLP, 200 S Biscayne Blvd, Miami, FL 33131,

Attn: Thomas Lauria, Esq. (tlauria@whitecase.com), and 111 S. Wacker Dr., Suite 5100, Chicago,

IL 60606, Attn: Bojan Guzina, Esq. (bojan.guzina@whitecase.com); and (viii) counsel to the

HoldCo Lenders at the address set forth in (vii) above, in each case no later than




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_______________, 2024 at 4:00 p.m. (ET). If no objections to the entry of the Final Order are

timely filed, this Court may enter the Final Order without further notice or a hearing.

         3.    The Debtors are authorized in their discretion, to pay, honor, or otherwise satisfy

prepetition Shippers & Logistics Providers Claims, Foreign Vendor Claims, Critical Vendor

Claims, and 503(b)(9) Claims in the ordinary course of their business up to an aggregate amount

of $77,650,000 on an interim basis, subject to the terms and conditions set forth in this Interim

Order.

         4.    Nothing in this Interim Order shall prejudice the Debtors’ right to request authority

to pay additional amounts on account of the Shippers & Logistics Providers Claims, Foreign

Vendor Claims, Critical Vendor Claims, and 503(b)(9) Claims and the Debtors’ right to seek such

relief is expressly reserved.

         5.    The Debtors are authorized to undertake appropriate efforts to cause Critical

Vendors and/or Foreign Vendors to enter into Trade Agreements with the Debtors substantially

similar to that annexed as Exhibit C to the Motion, as a condition of payment of each such Critical

Vendor’s or Foreign Vendor’s Trade Claim. The Debtors are authorized, in their discretion, to

make payments on account of a Trade Claim, subject to the other limits set forth herein, even in

the absence of a Trade Agreement, if the Debtors determine, in their business judgment that failure

to pay such Trade Claim is likely to harm the Debtors’ business operations. For the avoidance of

doubt, this Interim Order does not approve the terms of the Trade Agreement.

         6.    If a Critical Vendor or Foreign Vendor refuses to supply goods and/or services to

the Debtors on Customary Trade Terms (or such other terms as are agreed to by the parties)

following receipt of payment on its Critical Vendor Claim or Foreign Vendor Claim, as applicable,

(regardless of whether such Critical Vendor or Foreign Vendor has entered into a Trade




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Agreement), or fails to comply with any Trade Agreement entered into between such Critical

Vendor or Foreign Vendor and the Debtors, then the Debtors may, without further order of the

Court: (i) declare that any Trade Agreement between the Debtors and such Critical Vendor or

Foreign Vendor, as applicable, is terminated; (ii) declare that payments made to such Critical

Vendor or Foreign Vendor, as applicable, on account of its Trade Claims shall be deemed to have

been in payment of then-outstanding or subsequently accruing postpetition claims of such Critical

Vendor or Foreign Vendor; and (iii) take any and all appropriate steps to recover any payment

made to such Critical Vendor or Foreign Vendor, as applicable, on account of its Trade Claim(s)

to the extent that such payments exceeded the postpetition claims of such Critical Vendor or

Foreign Vendor, as applicable, without giving effect to any rights of setoff, claims, provision for

payment of reclamation or trust fund claims, or other defense; provided, however, that, if

requested, such Critical Vendor or Foreign Vendor shall be entitled to notice and an opportunity

to be heard as to any disputes with respect to the Debtors’ exercise of the rights enumerated in this

Paragraph 6. Nothing herein shall constitute a waiver of the Debtors’ rights to seek damages or

other appropriate remedies against any breaching Critical Vendor or Foreign Vendor.

       7.        Notwithstanding the foregoing, the Debtors may, in their discretion, reinstate a

Trade Agreement if:

            a.   the underlying default under the Trade Agreement is fully cured by the Critical
                 Vendor or Foreign Vendor not later than five (5) business days following the
                 Debtors’ notification to the Critical Vendor or Foreign Vendor of such default; or

            b.   the Debtors, in their discretion, reach a favorable alternative agreement with the
                 Critical Vendor or Foreign Vendor.

       8.        The authorization granted hereby to pay Trade Claims shall not create any

obligation on the part of the Debtors or their officers, directors, attorneys, or agents to pay the

Trade Claims, none of the foregoing persons shall have any liability on account of any decision by



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the Debtors not to pay a Trade Claim and nothing contained in this Interim Order shall be deemed

to increase, reclassify, elevate to an administrative expense status, or otherwise affect the Trade

Claims to the extent they are not paid.

       9.      The amount of any Trade Claim set forth in a Trade Agreement shall be used only

for purposes of determining a Critical Vendor’s or Foreign Vendor’s claim under this Interim

Order, shall not be deemed a claim allowed by the Court, and may be subject to further order of

the Court. Notwithstanding payment of such Trade Claim in accordance with this Interim Order,

the rights of all interested persons to object to such claim shall be fully preserved until further

order of the Court. Further, signing a Trade Agreement containing a claim amount for purposes

of this Interim Order shall not excuse such Critical Vendor or Foreign Vendor from filing a proof

of claim in these cases on account of prepetition amounts that may remain unpaid.

       10.     A Critical Vendor or Foreign Vendor who receives payment on account of a Trade

Claim (whether or not such Critical Vendor or Foreign Vendor signs a Trade Agreement) shall

not: (i) file or perfect a Lien on account of such Trade Claim, and any such Critical Vendor or

Foreign Vendor shall take all necessary action to remove any existing Lien relating to such Trade

Claim, even if the Lien is against property of a non-Debtor; or (ii) seek to reclaim goods previously

shipped to the Debtors.

       11.     Notwithstanding the relief granted herein and any actions taken hereunder, nothing

contained herein shall create, nor is it intended to create, any rights in favor of, or enhance the

status of any claim held by, any person.

       12.     The execution of a Trade Agreement by the Debtors shall not be declared a waiver

of any other cause of action, including avoidance actions, which may be held by the Debtors.




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         13.   The Debtors’ banks and other financial institutions (collectively, the “Banks”) are

authorized, when requested by the Debtors, in the Debtors’ discretion, to honor and process checks

or electronic fund transfers drawn on the Debtors’ bank accounts to pay prepetition obligations

authorized to be paid hereunder, whether such checks or other requests were submitted prior to, or

after, the Petition Date, provided that sufficient funds are available in the applicable bank accounts

to make such payments. The Banks may rely on the representations of the Debtors with respect to

whether any check or other transfer drawn or issued by the Debtors prior to the Petition Date

should be honored pursuant to this Interim Order, and any such Banks shall not have any liability

to any party for relying on such representations by the Debtors, as provided for in this Interim

Order.

         14.   Nothing in this Interim Order (i) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the Debtors, (ii) shall impair, prejudice, waive, or otherwise

affect the rights of the Debtors and their estates with respect to the validity, priority, or amount of

any claim against the Debtors and their estates, or (iii) shall be construed as a promise to pay a

claim.

         15.   Notwithstanding anything to the contrary in this Interim Order, the Motion, or its

attachments, the validity, amount, or priority status of a creditor’s claim, including that of claims

arising under § 503(b)(9) of the Bankruptcy Code, shall not be affected by whether such creditor

executes a Vendor Agreement or provides services or goods to the Debtors under Customary Trade

Terms, or otherwise.

         16.   Nothing in this Interim Order shall be construed to (a) create or perfect, in favor of

any person or entity, any interest in cash of a Debtor that did not exist as of the Petition Date or




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(b) alter or impair any security interest or perfection thereof, in favor of any person or entity, that

existed as of the Petition Date.

         17.   Nothing in this Interim Order, nor as a result of any payment made pursuant to this

Interim Order, shall be deemed or construed as a waiver of the right of Debtors, or shall impair the

ability of Debtors, to contest the validity and amount of any payment made pursuant to this Interim

Order.

         18.   Nothing in this Interim Order shall create, nor is intended to create, any rights in

favor of or enhance the status of any claim held by any party.

         19.   Notwithstanding anything to the contrary set forth herein, any payment made, or

authorization contained, hereunder shall be subject in all respects to the Approved Budget (as such

term is defined in the order approving the Debtors’ postpetition financing agreements).

         20.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order.

         21.   The requirements of Bankruptcy Rule 6003(b) have been satisfied because the relief

set forth in this Interim Order is necessary to avoid immediate and irreparable harm.

         22.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order shall be effective and enforceable immediately upon its entry.

         23.   Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

         24.   This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




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                      EXHIBIT B

                      Final Order
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    FRANCHISE GROUP, INC., et al., 1                          Case No. 24-12480 (JTD)

                                 Debtors.                     (Jointly Administered)

                                                              Ref. Docket No. ___

                     FINAL ORDER (I) AUTHORIZING THE
         DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF CERTAIN
        CRITICAL VENDORS, FOREIGN VENDORS, SHIPPERS & LOGISTICS
    PROVIDERS, AND 503(b)(9) CLAIMANTS; AND (II) GRANTING RELATED RELIEF

          Upon consideration of the motion (the “Motion”) 2 of the debtors and debtors in possession

in the above-captioned cases (collectively, the “Debtors”) for the entry of interim and final orders,

(i) authorizing, but not directing, the Debtors to pay certain prepetition Shippers & Logistics




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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
      Delaware, Ohio 43015.
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      Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the First Day
      Declaration.
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Providers Claims, Critical Vendor Claims, Foreign Vendor Claims, and 503(b)(9) Claims in an

amount not to exceed the Interim Order Cap and, in the aggregate, inclusive of amounts paid

pursuant to the Interim Order, an amount not to exceed the Final Order Cap, and (ii) granting

related relief; and this Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334(b), and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware dated as of February 29, 2012; and this Court having

found that venue of these Chapter 11 Cases and the Motion in this District is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having found that notice of the Motion has been

given as set forth in the Motion and that such notice is adequate and no other or further notice need

be given; and this Court having determined that it may enter a final order consistent with Article

III of the United States Constitution; and upon consideration of the First Day Declaration; and

upon the record in these Chapter 11 Cases and all of the proceedings had before this Court; and

the Court having approved the Motion on an interim basis; and this Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors, their estates,

and their creditors; and that the legal and factual bases set forth in the Motion establish just cause

for the relief granted herein; and after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, in their discretion, to pay, honor, or

otherwise satisfy prepetition Shippers & Logistics Providers Claims, Foreign Vendor Claims,

Critical Vendor Claims, and 503(b)(9) Claims in the ordinary course of their business up to an




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aggregate amount of $99,700,000, inclusive of amounts paid pursuant to the Interim Order, on a

final basis, subject to the terms and conditions set forth in this Final Order.

       3.      Nothing in this Final Order shall prejudice the Debtors’ right to request authority

to pay additional amounts on account of the Shippers & Logistics Providers Claims, Foreign

Vendor Claims, Critical Vendor Claims, and 503(b)(9) Claims and the Debtors’ right to seek such

relief is expressly reserved.

       4.      The Debtors are authorized to undertake appropriate efforts to cause Critical

Vendors and/or Foreign Vendors to enter into Trade Agreements with the Debtors substantially

similar to that annexed as Exhibit C to the Motion, as a condition of payment of each such Critical

Vendor’s or Foreign Vendor’s Trade Claim. The Debtors are authorized, in their discretion, to

make payments on account of a Trade Claim, subject to the other limits set forth herein, even in

the absence of a Trade Agreement, if the Debtors determine, in their business judgment, that failure

to pay such Trade Claim is likely to harm the Debtors’ business operations. For the avoidance of

doubt, this Final Order does not approve the terms of the Trade Agreement.

       5.      If a Critical Vendor or Foreign Vendor refuses to supply goods and/or services to

the Debtors on Customary Trade Terms (or such other terms as are agreed to by the parties)

following receipt of payment on its Critical Vendor Claim or Foreign Vendor Claim, as applicable,

(regardless of whether such Critical Vendor or Foreign Vendor has entered into a Trade

Agreement), or fails to comply with any Trade Agreement entered into between such Critical

Vendor or Foreign Vendor and the Debtors, then the Debtors may, in their discretion and without

further order of the Court: (i) declare that any Trade Agreement between the Debtors and such

Critical Vendor or Foreign Vendor, as applicable, is terminated; (ii) declare that payments made

to such Critical Vendor or Foreign Vendor, as applicable, on account of its Trade Claims shall be




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deemed to have been in payment of then-outstanding or subsequently accruing postpetition claims

of such Critical Vendor or Foreign Vendor; and (iii) take any and all appropriate steps to recover

any payment made to such Critical Vendor or Foreign Vendor, as applicable, on account of its

Trade Claim(s) to the extent that such payments exceeded the postpetition claims of such Critical

Vendor or Foreign Vendor, as applicable, without giving effect to any rights of setoff, claims,

provision for payment of reclamation or trust fund claims, or other defense; provided, however,

that, if requested, such Critical Vendor or Foreign Vendor shall be entitled to notice and an

opportunity to be heard as to any disputes with respect to the Debtors’ exercise of the rights

enumerated in this Paragraph 5. Nothing herein shall constitute a waiver of the Debtors’ rights to

seek damages or other appropriate remedies against any breaching Critical Vendor or Foreign

Vendor.

       6.        Notwithstanding the foregoing, the Debtors may, in their discretion, reinstate a

Trade Agreement if:

            a.   the underlying default under the Trade Agreement is fully cured by the Critical
                 Vendor or Foreign Vendor not later than five (5) business days following the
                 Debtors’ notification to the Critical Vendor or Foreign Vendor of such default; or

            b.   the Debtors, in their discretion, reach a favorable alternative agreement with the
                 Critical Vendor or Foreign Vendor.

       7.        The authorization granted hereby to pay Trade Claims shall not create any

obligation on the part of the Debtors or their officers, directors, attorneys, or agents to pay the

Trade Claims, none of the foregoing persons shall have any liability on account of any decision by

the Debtors not to pay a Trade Claim and nothing contained in this Final Order shall be deemed to

increase, reclassify, elevate to an administrative expense status, or otherwise affect the Trade

Claims to the extent they are not paid.




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       8.      The amount of any Trade Claim set forth in a Trade Agreement shall be used only

for purposes of determining a Critical Vendor’s or Foreign Vendor’s claim under this Interim

Order, shall not be deemed a claim allowed by the Court, and may be subject to further order of

the Court. Notwithstanding payment of such Trade Claim in accordance with this Interim Order,

the rights of all interested persons to object to such claim shall be fully preserved until further

order of the Court. Further, signing a Trade Agreement containing a claim amount for purposes

of this Final Order shall not excuse such Critical Vendor or Foreign Vendor from filing a proof of

claim in these cases on account of prepetition amounts that may remain unpaid.

       9.      A Critical Vendor or Foreign Vendor who receives payment on account of a Trade

Claim (whether or not such Critical Vendor or Foreign Vendor signs a Trade Agreement) shall not

(i) file or perfect a Lien on account of such Trade Claim, and any such Critical Vendor or Foreign

Vendor shall take all necessary action to remove any existing Lien relating to such Trade Claim,

even if the Lien is against property of a non-Debtor; or (ii) seek to reclaim goods previously

shipped to the Debtors.

       10.     Notwithstanding the relief granted herein and any actions taken hereunder, nothing

contained herein shall create, nor is it intended to create, any rights in favor of, or enhance the

status of any claim held by, any person.

       11.     The execution of a Trade Agreement by the Debtors shall not be declared a waiver

of any other cause of action, including avoidance actions, which may be held by the Debtors.

       12.     The Debtors’ banks and other financial institutions (collectively, the “Banks”) are

authorized, when requested by the Debtors, in the Debtors’ discretion, to honor and process checks

or electronic fund transfers drawn on the Debtors’ bank accounts to pay prepetition obligations

authorized to be paid hereunder, whether such checks or other requests were submitted prior to, or




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after, the Petition Date, provided that sufficient funds are available in the applicable bank accounts

to make such payments. The Banks may rely on the representations of the Debtors with respect to

whether any check or other transfer drawn or issued by the Debtors prior to the Petition Date

should be honored pursuant to this Final Order, and any such Banks shall not have any liability to

any party for relying on such representations by the Debtors, as provided for in this Final Order.

         13.    Nothing in this Final Order (i) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the Debtors, (ii) shall impair, prejudice, waive, or otherwise

affect the rights of the Debtors and their estates with respect to the validity, priority, or amount of

any claim against the Debtors and their estates, or (iii) shall be construed as a promise to pay a

claim.

         14.    Notwithstanding anything to the contrary in this Final Order, the Motion, or its

attachments, the priority status of a creditor’s claim, including that of claims arising under

§ 503(b)(9) of the Bankruptcy Code, shall not be affected by whether such creditor executes a

Vendor Agreement or provides services or goods to the Debtors under Customary Trade Terms,

or otherwise.

         15.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order.

         16.    Nothing in this Final Order shall be construed to (a) create or perfect, in favor of

any person or entity, any interest in cash of a Debtor that did not exist as of the Petition Date or

(b) alter or impair any security interest or perfection thereof, in favor of any person or entity, that

existed as of the Petition Date.




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         17.   Nothing in this Final Order, nor as a result of any payment made pursuant to this

Final Order, shall be deemed or construed as a waiver of the right of Debtors, or shall impair the

ability of Debtors, to contest the validity and amount of any payment made pursuant to this Final

Order.

         18.   Nothing in this Final Order shall create, nor is intended to create, any rights in favor

of or enhance the status of any claim held by any party.

         19.   Notwithstanding anything to the contrary set forth herein, any payment made, or

authorization contained, hereunder shall be subject in all respects to the Approved Budget (as such

term is defined in the order approving the Debtors’ postpetition financing agreements).

         20.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order shall be effective and enforceable immediately upon its entry.

         21.   Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

         22.   This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




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                      EXHIBIT C

                    Trade Agreement
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                                                [Date]

TO:    [Critical Vendor]
       [Name]
       [Address]

Dear Valued Supplier:

        As you may be aware, on November 3, 2024 (the “Petition Date”), Franchise Group, Inc.
and its subsidiaries (collectively, the “Debtors”) filed voluntary petitions under chapter 11 of title
11 of the United States Code in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Cases” and the “Bankruptcy Court,” respectively). On the Petition Date, we
requested the Bankruptcy Court’s authority to pay certain critical service providers and suppliers
(the “Critical Vendors”) in recognition of the importance of our relationship with them and our
desire that the Bankruptcy Cases have as little effect on them as possible. On [●], 2024, the
Bankruptcy Court entered the interim order (the “Interim Order”). On [●], 2024, the Bankruptcy
Court entered the final order (the “Final Order” and together with the Interim Order, the “Orders”))
authorizing us, under certain conditions, to pay pre-bankruptcy claims of Critical Vendors that
agree to the terms set forth below and to be bound by the terms of the Orders. Copies of the Orders
are enclosed.

        To receive payment on pre-bankruptcy claims, we require each Critical Vendor to agree to
continue supplying goods to the Debtors based on “Customary Trade Terms.” In the Orders,
Customary Trade Terms are defined as the normal and customary trade terms, practices and
programs (including, but not limited to, credit limits, pricing, cash discounts, timing of payments,
allowance, rebates and availability and other applicable terms and programs) in effect between
such Critical Vendor and the Debtors 12 months prior to the Petition Date (the “Prepetition Trade
Terms”) or such other trade terms, practices and programs agreed upon by the parties that are at
least as favorable to the Debtors as the Prepetition Trade Terms.

        For purposes of administration of this trade program as authorized by the Bankruptcy
Court, the Debtors and you agree as follows:

               1.       The total prepetition amount due to the vendor (net of any setoffs, credits or
                        discounts) is $______ (the “Total Prepetition Claim”).

               2.       The amount that you are agreeing to be paid under this vendor motion is $______
                        (the “Critical Vendor Claim”). Your Critical Vendor Claim does not
                        constitute a claim allowed by the Bankruptcy Court in the Bankruptcy
                        Cases. By signing this Trade Agreement you [ are / are not ] agreeing to
                        waive all remaining claims on account of prepetition amounts that may
                        remain unpaid (the difference between the Total Prepetition Claim and the
                        Critical Vendor Claim).




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                2.      The open trade balance or credit line that you will extend to the Debtors for
                        shipment of postpetition goods is $__________ (which shall not be less than the
                        most favorable trade terms offered to the Debtors prior to the Petition Date).

                3.      In consideration for the payment described herein, you agree not to file or
                        otherwise assert against any or all of the Debtors, their estates or any other
                        person or entity or any of their respective assets or property (real or personal)
                        any lien (a “Lien”) or claim for reclamation (“Reclamation Claim”), regardless
                        of the statute or other legal authority upon which such Lien or Reclamation
                        Claim may be asserted, related in any way to any remaining prepetition
                        amounts allegedly owed to you by the Debtors arising from agreements or
                        other arrangements entered into prior to the Petition Date and, to the extent you
                        have already obtained or otherwise asserted such a Lien or Reclamation Claim,
                        you shall (at your own expense) take whatever actions are necessary to remove
                        such Lien or withdraw such Reclamation Claim.

                4.      You will hereafter extend to the Debtors all Customary Trade Terms, which are:



                [ADD INDIVIDUALIZED SET OF CUSTOMARY TRADE TERMS]



        Payment of your Critical Vendor Claim in the manner set forth in the Order may occur upon
execution of this letter by a duly authorized representative of your company and the return of this letter
to the Debtors. Your execution of this letter agreement and the return of the same to the Debtors
constitutes an agreement between you and the Debtors:

                        (a)     to the Customary Trade Terms and, subject to the reservations
                                contained in the Order, to the amount of the Critical Vendor Claim set
                                forth above;

                        (b)     that, during the pendency of the Bankruptcy Cases, you will continue to
                                supply the Debtors with goods and/or services, pursuant to the terms
                                hereof and that the Debtors will pay for such goods in accordance
                                with the terms hereof;

                        (c)     that you have reviewed the terms and provisions of the Order and
                                acknowledge that you are bound by such terms;

                        (d)     that you will not separately seek the reclamation of goods shipped
                                to the Debtors;

                        (e)     that if either the trade payment program authorized by the Order (the
                                “Trade Payment Program”) or your participation therein terminates
                                as provided in the Order, any payments received by you on account
                                of your Critical Vendor Claim will be deemed to have been in


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                             payment of postpetition obligations owed to you and you will
                             immediately repay to the Debtors any payments made to you on
                             account of your Critical Vendor Claim to the extent that the
                             aggregate amount of such payments exceed the postpetition
                             obligations, without the right of any setoffs, claims, provision for
                             payment of reclamation or trust fund claims, or other defense; and

                      (f)    that, subject to the terms and conditions set forth herein, your
                             Critical Vendor Claim will be paid in accordance with the following
                             schedule:



                                    Date                     Amount of Payment




       The Debtors and you also hereby agree that any dispute with respect to this agreement, the
Order and/or your participation in the Trade Payment Program shall be determined by the
Bankruptcy Court notwithstanding any provision of any other contract between you and the
Debtors to the contrary (whether such contract exists now or is entered into in the future).

       If you have any questions about this Agreement or our financial restructuring, please do
not hesitate to call [Name] at (___)__________ or [Name] at (___)_________.


                                            Sincerely,
                                            [Debtor]
                                            By:
                                            Its:
Agreed and Accepted by:
[Name of Critical Vendor]

By:

Its:

       Dated:




                                               3
